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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    Biolase, Inc., et al., 1                                    Case No. 24-12245 (KBO)

                      Debtors.                                  (Jointly Administered)

                                                                Objection Deadline: November 27, 2024 at 4:00 p.m. (ET)

         DISCLOSURE DECLARATION OF ORDINARY COURSE PROFESSIONAL

             I, Trinh Lam, hereby declare that the following is true to the best of my knowledge,

information and belief:

             1.      I am a consultant of N/A (the “Firm”) which maintains offices at 3009 S. Artesia

St., Santa Ana, CA 92704               .

             2.      This Declaration is submitted in connection with the order (the “OCP Order”)

entered by the United States Bankruptcy Court for the District of Delaware dated October 25,

2024, authorizing the above-captioned debtors and debtors in possession (collectively,

the “Debtors”) to retain certain professionals in the ordinary course of business during the

pendency of the Debtors’ chapter 11 cases.

             3.      The Firm has represented and advised the Debtors as service provider with respect

to international sales and operations on trade compliance matters, since January, 12,2024.

             4.      The Firm [is/is not] a legal services firm.




1
       The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
       number, are: Biolase, Inc. (2441); BL Acquisition Corp. (4140); BL Acquisition II, Inc. (6022); and Model Dental
       Office, LLC (9372). The Debtors’ headquarters are located at 27042 Towne Centre Drive, Suite 270, Foothill
       Ranch, CA 92610-2811.
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        5.        The Firm [has/has not] provided services to the Debtors before October 1, 2024

(the “Petition Date”).

        6.        The Debtors have requested, and the Firm has agreed, to continue to provide

services to the Debtors pursuant to section 327 of title 11 of the United States Code

(the “Bankruptcy Code”) with respect to such matters. Additionally, the Debtors have requested,

and the Firm proposes to render, the following services to the Debtors: [provide export and trade

controls administrative support to Biolase’s international customer bases].

        7.        The Firm’s current customary [USD $280] rates, subject to change from time to

time, are $       N/A      . In the normal course of business, the Firm revises its regular [hourly] rates

and advises that, effective N/A               on       N/A       of each year, the aforementioned rates will

be revised to the regular [hourly] rates that will be in effect at that time. 2

        8.        The Firm [does/does not] keep time records in one-tenth-of-an-hour increments in

the ordinary course of business. [Time records are kept and billed in increments of one fourth or

quarter of the hour.]

        9.        To the best of my knowledge, formed after due inquiry, neither I nor any

professional employed by the Firm is a relative of the United States Bankruptcy Judge assigned to

these chapter 11 cases, and the Firm does not have any connection with the United States

Bankruptcy Judge, the Office of the United States Trustee, or any person employed by the Office

of the United States Trustee that would render the Firm’s retention in these chapter 11 cases

improper.




2
    [Disclose billing rates for Debtors if different from firm’s customary rates, and if the fees are not based on hourly
    rates, please disclose the nature of the fees (e.g., flat fee, contingency) and the amount.]
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        10.     To the best of my knowledge, formed after due inquiry, neither I, the Firm, nor any

professional thereof has any connection with, or currently represents, any of the Debtors’ creditors

or other parties in interest with respect to the matters upon which it is to be engaged.

        11.     In addition, although unascertainable at this time after due inquiry, by virtue of the

magnitude of the Debtors’ potential universe of creditors and the Firm’s clients, the Firm may have

in the past represented, currently represent, and may in the future represent entities and individuals

that are creditors of the Debtors in matters entirely unrelated to the Debtors and their estates. The

Firm does not and will not represent any such entity in connection with these pending chapter 11

cases and does not have any relationship with any creditor that would be adverse to the Debtors or

their estates. I believe that the Firm’s representation of such entities in matters entirely unrelated

to the Debtors is not adverse to the Debtors’ interests, or the interests of its creditors or estates in

respect of the matters for which the Firm will be engaged, nor will such representation impair the

Firm’s ability to represent the Debtors in these chapter 11 cases.

        12.     Pursuant to Federal Rule of Bankruptcy Procedure 2014(a), I obtained a list of

interested parties (the “Interested Parties List”) attached hereto as Exhibit 1 from counsel to the

Debtors which includes the Debtors, their creditors, other parties in interest, and certain

professionals employed in the cases (the “Interested Parties”) and undertook a search for any

connections between the Firm and the Interested Parties. [IF CONNECTIONS: The Firm’s review

of such Interested Parties identified connections with the following Interested Parties, including

current and prior representations: _Trinh Lam____ [Self/firm listed as OCP on PII exhibit 1]]. [IF

NO CONNECTIONS: The Firm’s review of such Interested Parties did not identify connections

with any Interested Parties, including current and prior representations.].
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       13.     In light of the foregoing, I believe that the Firm does not hold or represent any

interest materially adverse to the Debtors, their estates, creditors, or equity interest holders, as

identified to the Firm, with respect to the matter in which the Firm will be engaged. [For all Firms

other than legal services firms that represented the Debtors pre-petition:] The Firm is a

‘disinterested person’ as that term is defined in section 101(14) of the Bankruptcy Code.

       14.     In the past year, the Firm has been paid $8218 by the Debtors in respect of services

rendered to the Debtors. In addition, the Firm has rendered services that have not yet been billed

or that have been billed but with respect to which payment has not yet been received. The Firm is

currently owed $840 on account of prepetition services, the payment of which is subject to the

limitations contained in the Bankruptcy Code. [For non-legal firms: The Firm has waived, or will

waive, any prepetition claims against the Debtors’ estates.]

       15.     As of the Petition Date, the Firm held a retainer in the amount of $ 0.00    .

       16.     I also understand the limitations on compensation and reimbursement of expenses

under the OCP Order. Specifically, the Firm understands that if it seeks compensation in excess of

an average of $50,000 per month, on a rolling three-month period, then the Firm may be required

to file with the Court a Notice of Excess Fees or an Excess Fee Application (each as defined in the

OCP Order), as applicable and pursuant to paragraph 2.3 of the OCP Order.

       17.     I also understand that if the Firm seeks fees in excess of $250,000 (the “OCP Case

Cap”) during the pendency of the Debtors’ chapter 11 cases, then unless the U.S. Trustee agrees

otherwise (i) the Debtors will have to file a retention application in accordance with section 327

of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), to compensate the Firm for fees in excess of the
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OCP Case Cap, and (ii) the Firm will have to file fee applications with the Court for any amounts

in excess of the OCP Case Cap in accordance with sections 330 and 331 of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, the fee guidelines promulgated by the Executive Office of

the U.S. Trustee, and any applicable orders of this Court.

       18.     Except as set forth herein, no promises have been received by the Firm or any

partner, associate, or other professional thereof as to compensation in connection with these

chapter 11 cases other than in accordance with the provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and orders of the Court.

       19.     The Firm further states that it has not shared, nor agreed to share any compensation

received in connection with these chapter 11 cases with another party or person, other than as

permitted by section 504(b) of the Bankruptcy Code and Bankruptcy Rule 2016.

       20.     The foregoing constitutes the statement of the Firm pursuant to sections 329 and

504 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016(b).

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information, knowledge and belief.




                                                             Trinh Lam

                                                     [Trinh Lam]
                                                     [3009 S. Artesia St., Santa Ana, CA 92704]
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                                              Exhibit 1

                                List of Potential Parties in Interest

Debtors                                                Emmanuel E Lopez &
Biolase, Inc.                                           Manuela R Lopez JT TEN
BL Acquisition Corp.                                   Eric F Dammann
BL Acquisition II, Inc.                                FMT CO CUST IRA FBO
Model Dental Office, LLC                                 ELLEN ANN Urpsis
                                                       FMT CO CUST IRA Rollover FBO
Debtors’ Affiliates                                      James F Pitcher
Biolase Europe, GmbH                                   FMTC CUSTODIAN - Roth Ira FBO
Biolase Spain, S.L.                                      Selvakumaran Santhanam
Biolase India Private Limited                          FMTC TTEE Georgia Orp FBO
                                                         Kaustav Malik
Prospective Buyer                                      GTN Middle East Financial Services D
PIPStek LLC*                                              Customer Omnibus Account
Sonendo, Inc.*                                         Intesa Sanpaolo SpA /Retail
                                                       KBC Securities NV VBN General Meetings
Secured Creditors/Lenders                                Attn Nadine Merckx/ Havenlaan 12
SWK Funding LLC                                        Kenneth D Stoff & Melanie A Stoff
                                                        TEN By ENT
Banks                                                  Kenneth M Wewe & Shelley Wewe JT TEN
Banc of California                                     Kyle J Pitts
Bank of America, N.A.                                  Man Doan Trieu
                                                       MSSB C/F Alok Gupta Ira Standard
Current & Former Directors & Officers                  Nidal F Shilbayeh
John Beaver                                            Nuthan Gandra
Jennifer Bright                                        Qiang Chen
Michael C. Carroll                                     Raghavendra R Senivarapu
Jonathan T. Lord, M.D.                                 Richard L Fagerlin
Dr. Kathleen T. O’Loughlin                             Riyad Capital
Steven Sandor                                          Robert S Natale
Dr. Martha Somerman                                    Said M Harb
Kenneth P. Yale, D.D.S., J.D.                          Saxo Bank As-Hellerup Head Office
                                                       Sean Robbins
Current Shareholders                                   SGSS SpA/FBO Finecobank Omnibus
Banco Comercial Portugues Sa -                         Shafaiatul Islam
 Single Account Agency-Praca D. Joao I 28              Shahid Munir
Bigger Capital Fund LP                                 Smart Buy Holdings LLC
Carlos Castro                                          St Solutions Ltd
Clinton Jarrell                                        Steve Levy Revocable Trust
Cristobal Tiu Tzoy                                     Steven Richard Dorfman
Derayah Financial Company (FBO Clients)                 Charles Schwab & Co Inc Cust
District 2 Capital Fund LP                             Vaticine Limited
Duncan Walters                                         Vu Vu-Duong
Edson Krefta Sancearay Krefta                          Webull Financial LLC

*Party appears in more than one category.
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Top 30 Unsecured Creditors                             Dentadec, S.A de C. V
American Express                                       Dilip Dudhat
Arrow Electronics                                      DOA - Hartford
Axian Technology, Inc.                                 EdgeEndo
Bay Advanced Technologies*                             Echo Specialized Center in Dental
Blank Rome LLP*                                        Expert Tech Solutions SRL
BP Rapid Manufacturing Co Limited                      Farouk, Maamoun Tamer & Co.
Broadcastmed LLC                                       Fondaco-Jakarta
Casix, Inc.*                                           Hakusui Trading Co., Ltd.
Chonghong Industries Ltd.                              HEARTLAND DENTAL
Computershare Trust Company                            Henry Schein Dental BV Niederlande
Contour Metrological & Mfg.                            Jefferson Dental – Grand Prairie
Darcoid Company of California                          Joysdentec Corp
DDH Enterprise, Inc.*                                  Keenworld Technology Limited
Doc Matter Inc.                                        Mac Digital Dental Systems LLC
Fabrinet Co, Ltd.                                      Medif z.o.o. sp. k.
Faegre Drinker Biddle & Reath LLP*                     MediLase
Federal Express                                        OSADA Israel
Foothill Corporate 1 MT, LLC*                          PEAC (Germany) GmbH
Formula Plastics, Inc.                                 PT FONDACO Jayatama
Greenberg Traurig LLP*                                 SciVision Medical (Pty) Ltd
Integrated Media Solutions, LLC                        Sinclair Dental Co. Ltd
Johnson Products, Inc.*                                TAMER Company
Laservision-USA                                        TBMS International Corporation
Northrop Grumman Synoptics*                            Unicorn Denmart Limited
Optek Systems*
Oratech                                                Significant Vendors
RPMC Lasers, Inc.                                      Airways Freight Corp*
Shenzhen Zhichuangjiaye Technology                     American Express
 Co. Ltd.                                              Anthem Blue Cross
TD Engineering                                         Arena Bert
Vantron Technology, Inc.                               Axian Technology, Inc.
                                                       Bay Advanced Technologies*
Significant Customers                                  BDO USA, LLP
12 Corners Pediatrics                                  Blank Rome LLP*
ACD Round Rock                                         Carroll & Carroll, P.C.*
Akeel Singer                                           Casix, Inc.*
Amedix SDN BHD                                         Cobbs Allen Capital LLC dba CAC
Angela Lee                                              Specialty
ATCO Technology Company                                Custom Packaging Supply, Inc*
BDH Medical Supply Co., Ltd.                           DDH Enterprise Inc.*
Becky Wang                                             Donnelley Financial Solutions
Benco Dental Co - BC                                   Fabrinet Co, Ltd
Chema Cid S.L.                                         Federal Express
Clark Dental Sales                                     Fiberoptic Systems, Inc.*
DDS Associates                                         First Insurance Funding Corp.*


*Party appears in more than one category.
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Foothill Corporate 1 MT, LLC*                          Ordinary Course Professionals
Grant Thornton LLP                                     Grant Thornton*
Great-West Trust Company LLC                           Faegre Drinker*
Green River Properties, LLC*                           Sidley Austin
Johnson Products, Inc.*                                Greenberg Taurig*
Le Verre Fluore                                        Blank Rome*
Lumina Power                                           Fortech LLC
Macias Gini & O'Connell LLP                            Greenstone Consulting Group
Microtech Dental Mfg.                                  EVC Group LLC
Northrop Grumman Synoptics*                            Jennifer Labramonte
Optek Systems*                                         Maria Antonio
Oratech*                                               Express Services Inc.
Paypool LLC (Anybill)                                  NuAge Experts
Pillsbury Winthrop Shaw Pittman LLP*                   Katherine Kowalyk
Stracon Inc.*                                          Amanda Juan Cruz
SWK Funding LLC Collection Account*                    John C Nelson
The Printery, Inc.                                     Trinh Lam
Woodruff-Sawyer & Co.*                                 Anybill Financial Services*
                                                       Windes & McClaughry Accountancy Corp
Insurance                                              Borden Ladner Gervais LLP
AXIS Insurance Company                                 Mackey Law Firm Pllc
Argonaut Insurance Company                             Patsnap (UK) Limited
At-Bay Specialty Insurance Company                     DocMatter Inc.
Continental Casualty Company                           Exfluential, Inc.
Evanston Insurance Company                             Repreges 2002 S.L.
Falvey Insurance Group                                 WBH Wachenhausen
Federal Insurance Company                              Deloitte Asesores Tributarios
First Insurance Funding*                               Deloitte Management Services LLP
Hudson Insurance Group                                 Ecocell LLC
National Union Fire Insurance Company of               BDO USA, LLP
Pittsburgh, PA                                         Macias Gini & O'Connell LLP
ProAssurance Specialty Insurance Company
StarStone Insurance Company                            Bankruptcy Professionals
Travelers Indemnity Company                            Epiq Corporate Restructuring, LLC
Travelers Property Casualty Company Of                 Pillsbury Winthrop Shaw Pittman LLP*
America                                                Potter Anderson & Corroon LLP
Wesco Insurance Company                                SSG Advisors, LLC
                                                       GlassRatner Advisory & Capital Group, LLC
Landlords                                              B. Riley Advisory Services
Foothill Corporate I MT, LLC*                          Carroll & Carroll, P.C.*
Green River Properties, LLC*
                                                       Taxing & Regulatory Authorities
Litigation Parties                                     Alabama Department of Revenue
PIPStek, LLC*                                          California Department of Tax and Fee
Sonendo, Inc.*                                         Administration
                                                       City Of Philadelphia Department Of Revenue


*Party appears in more than one category.
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Colorado Department of Revenue                         Lopez, Marquietta
Florida Department of Revenue                          Lugano, Al
Georgia Department of Revenue                          O’Boyle, Una
Internal Revenue Service                               Ranieri, Joan
Iowa Department of Revenue                             Subda, Paula
Kansas Department of Revenue                           Walker, Jill
Maine Revenue Services                                 Yeager, Demitra
Missouri Department of Revenue
New York State Department of Taxation of               United States Trustee’s Office
Finance                                                Attix, Laruen
New York City Department of Finance                    Bates, Malcolm M.
Nebraska Department of Revenue                         Bu, Fang
North Carolina Department of Revenue                   Casey, Linda
Oklahoma Tax Commission                                Cudia, Joseph
State of Rhode Island Division of Taxation             Dice, Holly
Utah State Tax Commission                              Dortch, Shakima L.
West Virginia Department of Revenue                    Fox, Jr., Timothy J.
                                                       Giordano, Diane
Utility Providers                                      Girello, Michael
Vestis Services, LLC                                   Green, Christine
Sierra for Medical Science, Inc.                       Hackman, Benjamin
Linde Gas & Equipment                                  Jones, Nyanquoi
Talkdesk, Inc.                                         Konde, Hawa
Westair Gases and Equipment Inc.                       Leamy, Jane
                                                       Lipshie, Jonathan
Bankruptcy Judges & Clerks                             McCollum, Hannah M.
Barksdale, Nikita                                      McMahon, Joseph
Batts, Cacia                                           Nyaku, Jonathan
Bello, Rachel                                          O’Malley, James R.
Brady, Claire                                          Richenderfer, Linda
Capp, Laurie                                           Schepacarter, Richard
Cavello, Robert                                        Serrano, Edith A.
Farrell, Catherine                                     Sierra-Fox, Rosa
Gadson, Danielle                                       Thomas, Elizabeth
Haney, Laura                                           Vara, Andrew R.
Hrycak, Amanda                                         Wynn, Dion
Johnson, Lora
Judge Ashely M. Chan
Chief Judge John T. Dorsey
Judge Craig T. Goldblatt
Judge Thomas M. Horan
Judge Karen B. Owens
Judge Brendan L. Shannon
Judge Selber Silverstein
Judge J. Kate Stickles
Judge Mary F. Walrath


*Party appears in more than one category.
                                                                                        4893-1175-0629
